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                        IN THE UNITED STATES DISTRICT COURT
12
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
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     CITY OF GRASS VALLEY,                  )
15                                          )     2:04-cv-00149-GEB-DAD
                     Plaintiff,             )
16                                          )
                v.                          )     ORDER re: IN LIMINE
17                                          )     MOTIONS
     NEWMONT MINING CORPORATION, a          )
18   corporation; NEWMONT USA LIMITED,      )
     a corporation; NEWMONT NORTH           )
19   AMERICAN EXPLORATION LIMITED, a        )
     corporation; NEW VERDE MINES LLC,      )
20   a limited liability company,           )
     NEWMONT REALTY COMPANY, a              )
21   corporation,                           )
                                            )
22                   Defendants.            )
                                            )
23
24              Defendants move in limine to exclude portions of the
25   testimony of Robert Moran (“Moran”) and Keith O’Brien (“O’Brien”),
26   both of whom are Plaintiffs’ expert witnesses.        Plaintiff opposes the
27   motions.   Plaintiff moves “to preclude references to empty chair
28   defendants at trial.”    Defendants oppose the motion.


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 1                         I. Testimony of Robert Moran
 2   A. Moran’s Testimony Regarding Defendants’ Awareness of
 3   Potential Liability
 4             Defendants seek exclusion of Moran’s testimony concerning
 5   Defendants’ alleged awareness of potential liabilities and water
 6   contamination in the Grass Valley Area.        (Mot. in Limine to Exclude
 7   Testimony of Robert Moran (“Moran Mot.”) at 3:11-12.)          In Opinion 1 of
 8   Moran’s expert report, he states that “Newmont was aware, since at
 9   least the 1980s, that it had potential environmental liabilities with
10   respect to its properties in the Grass Valley Area.”         (Aff. of Alison
11   Thayer in Supp. of Mot. in Limine to Exclude Testimony of Robert
12   Moran, Ex. A (“Moran Report”) at 3.)        In Opinion 3 of Moran’s expert
13   report, he states that “based on Newmont’s experience at many of its
14   other metal mine sites, the corporation was aware that such mine
15   waters probably had chemically reacted with sulfide-rich and metal-
16   laden rock to mobilize hazardous substances resulting in contamination
17   and pollution of the local surface and ground waters.”         (Id. at 5.)
18             Expert evidence is admissible under Federal Rule of Evidence
19   (“Rule”) 702 if “scientific, technical, or other specialized knowledge
20   will assist the trier of fact to understand the evidence or to
21   determine a fact in issue . . . .”        Fed. R. Evid. 702.   “For an
22   expert’s testimony to be admissible under [] Rule [702], [] it must be
23   directed to matters within the witness’ scientific, technical, or
24   specialized knowledge and not to lay matters which a jury is capable
25   of understanding and deciding without the expert’s help.”          Andrews v.
26   Metro N. Commuter R.R. Co., 882 F.2d 705, 708 (2d Cir. 1989); see SEC
27   v. Lipson, 46 F. Supp. 2d 758, 763 (N.D. Ill. 1998) (“Expert testimony
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 1   may not be used merely to repeat or summarize what the jury
 2   independently has the ability to understand.”).
 3             Defendants argue that “a determination of what was known by
 4   particular Defendants at any given time is well within the
 5   comprehension of the jury and the Court without the aid of Dr. Moran’s
 6   testimony,” since his opinion is “based solely upon his interpretation
 7   of ‘numerous memos and other documents,’ which will themselves be
 8   presented to the jury and the Court.”       (Moran Mot. at 3:20-22, 4:17-
 9   18; see Moran Report at 3, 5 (stating that Moran’s Opinions 1 and 3
10   are based on “numerous memos and other documents” authored by “Newmont
11   employees or representatives”).)      Plaintiff counters that “Dr. Moran’s
12   35 years of experience advising mining companies on environmental
13   matters makes him uniquely qualified to testify regarding industry
14   practices and knowledge.”     (Opp’n to Mot. to Exclude Testimony of
15   Robert Moran at 5:18-19.)     However, Plaintiff has failed to show that
16   the jury would not be capable of evaluating the evidence and
17   determining whether and/or when Defendants were aware of potential
18   environmental liabilities in the Grass Valley area.         Therefore, this
19   portion of Defendant’s motion is granted, and Moran’s testimony
20   concerning whether Defendants were aware of potential liabilities and
21   water contamination in the Grass Valley Area is excluded.1
22   B. Moran’s Testimony Regarding Appropriate Environmental Response
23             Defendants seek exclusion of Moran’s testimony regarding
24   whether Defendants conducted an appropriate environmental response,
25
          1
26             This ruling does not affect the admissibility of Moran’s
     testimony described in the portion of Opinion 3 stating, “Oxidation of
27   metal-bearing rocks to generate mine drainage which results in
     contamination of surface and ground waters and potential toxicity to
28   aquatic life is a process that has been understood throughout the mining
     industry for more than one hundred years.” (Moran Report at 5.)

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 1   but fail to show they should prevail on this portion of their motion.
 2   Accordingly, it is denied.
 3   C. Moran’s Testimony Regarding Stockholder Rights and Fiduciary
 4   Responsibilities of Corporate Officials
 5             Defendants seek exclusion of Moran’s testimony that
 6   “corporate officials [] have a fiduciary responsibility to their
 7   stockholders to evaluate and report such actual and potential
 8   liabilities,” since Moran is not an expert on stockholder rights or
 9   the fiduciary responsibilities of corporate officials.         (Moran Mot. at
10   6:11-12; Moran Report at 4.)     Expert witnesses may not provide expert
11   testimony on subjects on which they are not qualified as experts.
12   United States v. Chang, 207 F.3d 1169, 1173 (9th Cir. 2000) (holding
13   that trial court acted in its discretion in refusing to allow expert
14   in history of issuance of counterfeit foreign securities to testify
15   regarding authenticity of security certificate at issue “given that he
16   had no experience in identifying counterfeit foreign securities”).
17   Plaintiff has failed to show that Moran is a qualified expert on the
18   fiduciary responsibilities of corporate officials.         Accordingly, the
19   motion on this ground is granted.
20                        II. Testimony of Keith O’Brien
21   A. O’Brien’s Testimony Regarding Property Interests and
22   Operation of the Massachusetts Hill Mine
23             Defendants seek exclusion of portions of O’Brien’s testimony
24   (1) on the property and other legal interests held by Defendants in
25   the Massachusetts Hill Mine and other “underground mine workings” in
26   the Grass Valley Area, and (2) on whether any Defendant continued
27   operations at the Massachusetts Hill Mine after 1929.         (Mot. in Limine
28   to Exclude Testimony of Keith O’Brien (“O’Brien Mot.”) at 3:12-5:12.)


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 1   In Opinion 1 of O’Brien’s report, he states that “Water from a mine
 2   portal . . . emanates from underground mine workings owned by Newmont
 3   Mining Corporation and discharges onto the WWTP property.          . . .
 4   Newmont acquired North Star Mines Company in 1929 after North Star
 5   Mines Company had acquired the Massachusetts Hill Mine in 1894.”
 6   (Aff. of Alison Thayer in Supp. of Mot. in Limine to Exclude Testimony
 7   of Keith O’Brien, Ex. A (“O’Brien Report”) at 2.)         In Opinions 5 and
 8   6, O’Brien states that hazardous substances discharged from “Newmont’s
 9   underground mine workings . . . .”        (Id. at 21, 25.)   In Opinion 7,
10   O’Brien states that
11             Newmont is solely responsible for the discharge of
               hazardous substances contained within the mine
12             drainage flowing onto the City’s WWTP property.
               In and around the City’s WWTP property, Newmont is
13             a past, successor, and/or present owner and
               operator of underground mine workings and controls
14             the mineral rights. . . . Based on my extensive
               review of the available information, there are no
15             other sources of mining wastes but for those from
               Newmont.
16
17   (Id. at 36.)   Opinion 8 states in its entirety that “[a]fter Newmont
18   acquired North Star Mines Company and started operating Empire Star
19   Mines Company in 1929, Newmont continued mining operations at the
20   Massachusetts Hill mine.”     (Id. at 40.)
21             Defendants argue this testimony should be excluded since
22   O’Brien is not qualified as an expert in the area of property
23   interests, Defendants’ historical operations or “the legal status of
24   the parties as a past or present ‘owner or operator’ in this case.”
25   (O’Brien Mot. at 4:17-20, 5:7-9.)      O’Brien is a hyrdogeologist, and
26   has not been qualified as an expert in historical property rights.
27   (See O’Brien Report at 60.)     Defendants have shown O’Brien is not
28   qualified to give expert testimony on whether Defendants own or owned


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 1   any property right in those mines, or operated those mines after 1929.
 2   See Chang, 207 F.3d at 1173 (holding that expert witness may not
 3   provide expert testimony on subjects on which he is not qualified as
 4   an expert).
 5               Plaintiff counters that “[t]he trier of fact needs an
 6   analysis of the voluminous records in this case . . . [and] a context
 7   for evaluating the facts of this case in the context of environmental
 8   investigation and remediation.”        (Opp’n to Mot. in Limine to Exclude
 9   Testimony of Keith O’Brien (“O’Brien Opp’n”) at 9:21-24.)            In essence,
10   Plaintiff argues it is entitled to present summary evidence, and does
11   not otherwise respond to Defendants’ arguments.          Defendants’ motion is
12   granted, but this does not reach the aspect of Plaintiff’s response
13   concerning non-expert testimony.
14   B. O’Brien’s Testimony Regarding Plaintiff’s Knowledge of the Drew
15   Tunnel Prior to the Excavation Work
16               Defendants seek exclusion of O’Brien’s testimony regarding
17   when and how Plaintiff first discovered the drainage was emanating
18   from Drew Tunnel.     (O’Brien Mot. at 5:14-16.)       O’Brien states in
19   Opinion 6 that Plaintiff “encountered the drainage emanating from Drew
20   Tunnel due solely to its work conducted to expand the WWTP. . . . It
21   was only after preliminary excavation work in the area of the ‘spring’
22   that the true nature of the ‘spring’ was known.”          (O’Brien Report at
23   25.)   Defendants argue that “the jury is perfectly capable of
24   assessing the witnesses’ and [Plaintiff’s] statements and making its
25   own determination as to whether [Plaintiff] had knowledge of the Drew
26   Tunnel prior to the excavation work.”         (O’Brien Mot. at 6:5-8.)
27               Plaintiff counters that “O’Brien does not intend to offer an
28   opinion on [Plaintiff’s] ‘state of mind’ . . . but rather intends to


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 1   offer his opinion that [Plaintiff] ‘took due care in addressing the
 2   discharge of hazardous substances . . .’ and that the discharge ‘was
 3   not reasonably foreseeable’ to [Plaintiff].”          (O’Brien Opp’n at 5:18-
 4   22.)   However, Defendants have shown that O’Brien’s testimony on when
 5   and how Plaintiff first discovered the drainage was emanating from
 6   Drew Tunnel should be excluded; therefore, this testimony is excluded.
 7   This exclusion does not reach the points Plaintiff raises above on due
 8   care and reasonable foreseeability.
 9                            III. References to “Newmont”
10               Defendants argue that Moran and O’Brien should be precluded
11   from referring to all Defendants collectively as “Newmont,” since
12   Moran and O’Brien “offer[] no justification for [their] treatment of
13   all Newmont-related entities as one and there is no basis here to
14   ignore the corporate form.”       (Moran Mot. at 7:7-8.)      Plaintiff
15   counters that “Newmont does not itself respect the corporate form,
16   either in its business dealings or its communications with this Court
17   . . . .”    (O’Brien Opp’n at 11:12-13.)       Since it is unclear what
18   evidence will be developed at trial, and the record is insufficient
19   for issuance of the requested in limine ruling, the motion is denied.
20                     IV. References to Empty Chair Defendants
21               Plaintiff “requests an order prohibiting evidence or
22   argument regarding liability of other potentially responsible parties
23   not identified in the pleadings.”        (Pl.s’ Mot. at 3:15-17.)        Plaintiff
24   argues “Newmont was obligated under [Federal Rule of Civil Procedure]
25   26(a) to disclose any third parties that it contends were responsible
26   for the City’s harm” and therefore Defendant should not be permitted
27   to use such evidence at trial under Federal Rule of Civil Procedure
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 1   37(c).”2   (Id. at 4:12:-24.)    Plaintiff also argues “the City
 2   submitted specific interrogatories and document requests to Newmont
 3   asking Newmont to identify persons having knowledge of, and documents
 4   related to, property adjacent to the City’s wastewater plant, and
 5   control of the Drew Tunnel from 1850 to the present [and Defendants]
 6   identified no third parties or evidence showing potential third party
 7   liability.”   (Id. at 4:24-5:2.)     Plaintiff further argues that when it
 8   “subsequently sent Newmont specific contention interrogatories, asking
 9   Newmont to identify witnesses and documents supporting Newmont’s
10   ‘divisible injury,’ and ‘apportionment’ claims . . . as well as
11   Newmont’s ‘superceding and/or intervening actions of individuals’
12   claims . . ., Newmont refused to provide substantive responses,
13   asserting: ‘[T]he City has exceeded the number of interrogatories
14   permitted under the federal rules without leave of court or written
15   stipulation.’”   (Id. at 5:3-9 (citations omitted).)
16              Defendants state they “have not asked this Court, and do not
17   intend to ask this Court, to hold nonparties liable as potentially
18   responsible parties, as the City suggests [and] do not intend to
19   attempt to use evidence at trial that was not disclosed during
20   discovery.”   (Defs.’ Opp’n at 2:7-10.)      Defendants argue that
21   Plaintiff’s motion “is premature, overbroad, and lacks the specificity
22   necessary for this Court to decide what evidence of non-party
23   interests and activities is or is not admissible.”         (Id. at 2:18-20.)
24   Defendants further argue “the City cannot point to any evidence that
25   the Defendants ostensibly failed to produce [as required by Rule 26]
26   and now seek to use at trial[, and] Defendants are entitled to
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28             All subsequent references to Rules are to the Federal Rules of
     Civil Procedure.

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 1   introduce at trial any admissible evidence that has been produced in
 2   the course of litigation, even if such information relates to third-
 3   party interests. [Further,] Defendants have complied with all
 4   discovery requests from the City to the extent required by the Federal
 5   Rules.”   (Defs.’ Opp’n at 8:10-20, n.3.)
 6              This motion is not crystalized enough for decision, and
 7   appears to seek decision on a discovery issue that should have been
 8   resolved earlier in the proceeding.       See Weiss v. La Suisse, Society
 9   D’Assurances Sur La Vie, 293 F. Supp. 2d 397, 407-08 (S.D.N.Y. 2003)
10   (denying motion in limine where “[n]o particular documents or
11   testimony have been identified”);      Freeman v. Allstate Life Ins. Co.,
12   253 F.3d 533, 537 (9th Cir. 2001) (finding no abuse of discretion
13   where “[t]he district court declined to [exclude evidence] because
14   [movant] failed to prosecute the issue before the magistrate judge as
15   required by E.D. Cal. Local Rule 72-302(c) . . . .”).         Therefore, the
16   motion is denied.
17              Plaintiff also argues, given that “CERCLA is a strict
18   liability policy,” “evidence of non-parties’ ownership of title to
19   property in Grass Valley or potential responsibility for the
20   contamination at issue in this case would have minimal if no probative
21   value with respect to liability in this case” and, therefore, should
22   be excluded as irrelevant evidence.       (Pl.’s Mot. at 8:24-9:5.)
23   Defendants rejoin that evidence of property ownership is relevant to
24   rebutting duty of care and foreseeability of harm with regards to the
25   City’s negligence claim and “goes directly to whether any Defendant
26   can be held liable under CERCLA as a past owner or operator.”          (Defs.’
27   Opp’n at 4:20-5:11.)
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 1               Evidence should only be excluded in an in limine proceeding
 2   “when the evidence is clearly inadmissible on all potential grounds.”
 3   Bouchard v. Am. Home Prods. Corp., 213 F. Supp. 2d 802, 810 (N.D. Ohio
 4   2002).    This has not been shown.    Therefore, Plaintiff’s motion is
 5   denied.
 6               IT IS SO ORDERED.
 7   Dated:    February 26, 2008
 8
 9                                    GARLAND E. BURRELL, JR.
10                                    United States District Judge

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